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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
         v.                                           )       Crim. No. 1:19-cr-148
                                                      )
                                                      )
PRAKAZREL MICHEL,                                     )
LOW TAEK JHO                                          )
                                                      )


                                UNITED STATES’ TRIAL BRIEF

         The United States, by and through its attorneys, respectfully submits this brief summarizing

the government’s evidence at trial and setting forth its motions in limine and various legal issues

likely to arise at trial.

    I.        INTRODUCTION

         Between approximately June 2012 and approximately January 2018, the defendants,

Prakazrel Michel and Low Taek Jho (“Low”), pursued foreign access to and influence with high-

ranking U.S. government officials for their own financial benefit. The defendants’ efforts to

unlawfully inject foreign money and influence into U.S. politics and policy manifested in multiple

criminal schemes and actions. The first criminal scheme involved Michel and his use of conduit

contributors (or, “straw donors”) to funnel more than a million dollars of Low’s money into the

U.S. presidential election in 2012, all while concealing Low as the true source of the money—

even years after the illegal contributions. Then, after he had been indicted for that conduct, Michel

attempted to obstruct the case by trying to intimidate and corruptly persuade witnesses to withhold

or alter their potential testimony. The second criminal scheme involved Michel and his co-

conspirators waging an illicit, for-profit, undisclosed foreign lobbying campaign to help (1) Low



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resolve forfeiture proceedings and related federal investigations into his embezzlement and

laundering of 1MDB funds, and (2) the government of the People’s Republic of China (“PRC”) in

securing the return of a notable PRC dissident living in the United States. To further that scheme,

Michel and a co-conspirator made false statements to banks to enable the transfer and receipt of

Low’s money into the United States.

   II.      THE DEFENDANT’S FOREIGN CONDUIT CONTRIBUTION SCHEME

            a. Summary

         Beginning in or about June 2012, Michel and Low commenced their scheme to funnel

Low’s foreign money into the U.S. presidential election, specifically in support of one of the

presidential candidate’s (“Candidate A”) campaigns. Between June and August 2012, Low

directed approximately $11 million in foreign money to domestic bank accounts controlled by

Michel and his financial advisor at that time, Barry Bekkedam. During the next couple months,

Michel recruited approximately 20 straw donors to each of whom he provided Low’s money—

usually in the amount of $40,000 per person—so they could make a political contribution to

Candidate A’s campaign, typically in the same approximate $40,000 amount that Michel gave

them. In exchange for those contributions, the straw donors had the opportunity to attend one of

two campaign fundraising dinners featuring Candidate A. Michel also attended both of those

dinners. In total, between June and August 2012, the straw donors contributed more than $750,000

to Candidate A’s campaign in monies traceable to Low via Michel. In addition to using conduits

to facilitate and conceal Low’s money, Michel also served as a straw donor for Low’s money.

Specifically, in September and October 2012, Michel contributed approximately $1 million to an

independent-expenditure-only committee, Black Men Vote (“BMV”), with funds traceable to

Low. On or about election day in 2012, Low directed approximately another $11 million in foreign



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money to a domestic bank account controlled by Michel. In total, Michel received about $21

million from foreign accounts controlled by Low between June and November 2012.

       As a result of the foreign conduit contributions that he made and facilitated, Michel caused

Candidate A’s political campaign and BMV to unwittingly file several false reports with the

Federal Election Commission (FEC).       Instead of identifying Low as the true source of the

contributions, several of the reports filed by Candidate A’s campaign and BMV identified Michel

and/or the straw donors as the contributors. Moreover, in or about April 2015, the FEC

commenced an investigation into whether Michel violated the prohibition against conduit

contributions when he contributed money to BMV through a limited liability corporation that

Michel operated. During the course of that FEC proceeding, Michel submitted a signed declaration

to the FEC on or about June 15, 2015. In the declaration, signed by Michel under penalty of

perjury, Michel falsely attested, inter alia, that he “had no reason to hide the true source of my

donations to Black Men Vote nor did I wish to diminish the disclosure of source or amounts of my

contributions to Black Men Vote as being attributable to myself.” The declaration was false, much

like the FEC reports filed by Candidate A’s committee and BMV, because Michel was not the true

source of the funds he contributed—Low was the true source, and Michel merely served as Low’s

conduit.

             b. The Government’s Proof

       The government will present the testimony of FBI Forensic Accountant Eric Van Dorn,

who, relying on extensive financial records, will detail the movement of monies from foreign

accounts controlled by Low to accounts controlled by Michel. The financial analyst also will

address the movement of Low’s money from Michel’s accounts to the straw donors, and from the

straw donors to Candidate A’s campaign. Furthermore, the financial analyst will testify about



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Michel’s use of Low’s money to contribute approximately $1 million to BMV in September and

October 2012.

       In addition to this extensive financial analysis, the government will present the testimony

of several straw donors. While each donor’s account will vary in detail, the overarching substance

of their testimony is expected to be that (1) Michel asked if they wanted to attend a campaign

fundraising dinner with Candidate A; (2) the straw donors did not have, or were not interested in

spending, the money necessary to attend the dinner; (3) Michel offered to and did pay for the straw

donors to attend the dinner by giving them the requisite money, usually $40,000 per person; (4)

Michel instructed the straw donors to provide the money he gave them to Candidate A’s campaign

in order to attend; and (5) for some straw donors, Michel later sent them a letter falsely

characterizing the payments as loans and demanding repayment. Financial records, photographs

from the two campaign fundraising dinners, and email communications, among other evidence,

will corroborate the straw donors’ accounts that they received money from Michel, contributed to

Candidate A’s campaign, and attended the dinners, with Michel also present.

       For the false reports and the false declaration submitted to the FEC, the government plans

to call at least one FEC witness who will attest to the significance and materiality of the reports

and the declaration for purposes of the FEC’s enforcement of federal campaign finance law.

Evidence at trial will also demonstrate that Eric Tan, a foreign national and an associate of Low,

served as a proxy or intermediary on behalf of Low, particularly for purposes of financial

transactions. Tan is the signatory of two foreign entities through which Low transfered money to

Michel during the relevant period in 2012. The government will present witnesses, including an

actor and an auction house executive, who will testify about their interactions with Low and Tan

and their understanding as to the relationship between those two individuals. Specifically, the



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government anticipates both witnesses to explain that Tan often handled or helped facilitate

financial transactions for Low at Low’s direction.

       Moreover, the government intends to call Bekkedam, Michel’s former financial advisor, to

testify about his communications with Michel regarding the source of the millions of dollars that

Michel received from abroad in 2012. Based on Michel’s representations, the government expects

Bekkedam to testify that he understood the relevant financial transfers to come from Low. His

testimony will be corroborated by email communications between Bekkedam and Michel.

       Bekkedam also will testify about a “gift” letter that he prepared for Michel to account for

the approximately $20 million that Michel received from Low and to help relieve Michel’s tax

burden in relation to those monies. The letter claims that the $20 million received during the

relevant period in 2012 was a gift from foreign entities with taxes already paid on it. Tan is

included in the signature line at the bottom of the letter. Bekkedam will explain that he received

Tan’s name from Michel, was told that Tan was Low’s financial assistant, and understood the $20

million referenced in the letter to have been provided by Low. The government also will introduce

electronic communications, including emails and text messages, between Michel, unindicted co-

conspirators who assisted in funneling Low’s money to Michel and into the election, and others

involved, directly or indirectly, in efforts to fundraise for Candidate A’s campaign and/or to

arrange the relevant campaign fundraising events. The government may rely on an FBI case agent

in part to introduce many of these communications admissible as statements by an opposing party,

see Fed. R. Evid. 801(d)(2), including as co-conspirators statements, see Fed. R. Evid.

801(d)(2)(E). 1



1
 The government anticipates multiple non-hearsay justifications and hearsay exceptions applying
throughout trial to permit the admission of various statements and communications by Michel, co-
conspirators, witnesses, and others. Those likely applicable categories will include but not be
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           c. Michel’s Witness Tampering

       On or about July 14, 2019—after Michel had been indicted and received initial discovery

in this case—Straw Donor N, one of Michel’s straw donors in 2012, and Individual A, a political

fundraiser for Candidate A, received text messages ostensibly referencing Michel and this case.

The messages constituted attempts to corruptly persuade Straw Donor N and Individual A to not

fully cooperate or testify truthfully in the government’s criminal case against Michel.

       At trial, the government will introduce those text messages and witness and agent

testimony concerning the messages and the context surrounding them. In addition, the government

will present FBI Special Agent Justin Gray, who is a certified member of FBI’s Cellular Analysis

Survey Team (CAST). 2 The agent, relying on cell site and location data, will explain how the

cellular phone that sent the text messages to Straw Donor N and Individual A was in close

proximity throughout a portion of New York City with the cellular phones known to belong to

Michel at various times on July 14, 2019, the day the texts were sent. Based on this and other

information, the evidence will prove that Michel sent or directed the sending of the threatening

text messages.



limited to: present sense impression, Fed. R. Evid. 803(1); records of regularly conducted activity,
Fed. R. Evid. 803(6); public records, Fed R. Evid. 803(8); and then-existing mental, emotional, or
physical condition, Fed. R. Evid. 803(3); United States v. Brown, 490 F.2d 758, 762 (D.C. Cir.
1973) (“[T]he state of mind exception to the hearsay rule allows the admission of extrajudicial
statements to show the state of mind of the declarant at that time if that is at issue in the case. It
also allows such statements to show a future intent of the declarant to perform an act if the
occurrence of that act is at issue.” (internal citations omitted)); Rink v. United States, 388 A.2d 52,
57 (D.C. 1978); Clark v. United States, 412 A.2d 21, 25 (D.C. 1980). To ensure the jury does not
consider the statements for the truth of the matter asserted when otherwise prohibited, and to limit
the prejudicial potential of the statements, a limiting instruction should be given to the jury that
the statements are only offered as evidence of the declarant’s intentions at the time. See Brown,
490 F.2d at 762-63; see also United States v. Safavian, 435 F. Supp. 2d 36, 43 (D.D.C. 2006).

2
 The government previously provided expert notice for Special Agent Gray’s testimony as a CAST
analyst. See Gov. Expert Notice, ECF Nos. 122 & 123.
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    III.      THE DEFENDANT’S UNDISCLOSED FOREIGN LOBBYING SCHEME

              a. Summary

           For nearly a year beginning in approximately March 2017, Michel, Low, and others

conspired to conduct an illegal, undisclosed foreign lobbying campaign to influence high-ranking

U.S. government officials and policy. The purposes of this illicit influence operation were twofold.

First, Michel, Low, and their co-conspirators sought to convince U.S. governmental decision

makers to resolve the forfeiture proceedings and related federal investigations into Low for the

embezzlement of billions of dollars from 1MDB, a strategic investment and development company

owned by the Government of Malaysia. Second, Michel, Low, and their co-conspirators—after

meeting with, and while colloborating with, a PRC government official—sought to convince U.S.

governmental decision makers to extradite a high-profile PRC dissident back to the PRC. To carry

out these efforts, Michel and others enlisted the services of Elliott Broidy, a prolific businessperson

and political fundraiser who served as Deputy Finance Chair of the President’s political party and

maintained close ties to the President’s Administration during the relevant period. Michel and his

co-conspirators intended and attempted to leverage Broidy’s connections and influence with the

Administration to address Low’s 1MDB matter and the extradition of the PRC dissident sought by

the PRC government. In return for their efforts, Michel, Broidy, and others received millions of

dollars from Low via foreign bank accounts that he controlled. To conceal their relationship and

financial arrangement with Low, and to coat it with a sheen of legitimacy, Michel and others

funneled Low’s payments through the domestic bank accounts of various shell entities and a law

firm, and drafted sham contracts.

           In furtherance of their scheme, Broidy and other co-conspirators drafted documents and

contacted U.S. government officials personally and through others to (1) suggest that the United



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States should not be involved in the 1MDB matters; (2) attempt to arrange a golf outing between

the President and the Malaysian Prime Minister so they could address the 1MDB matter; and (3)

advocate for the extradition of the PRC dissident. Broidy enlisted Rick Gates, a political campaign

official and consultant, and Stephen Wynn, a businessperson and casino magnate, to utilize their

connections and influence with the Administration to assist in the influence operation. Among the

U.S. government officials whom Broidy contacted or attempted to contact or influence, directly or

indirectly, were the Attorney General, the Secretary of State, and the President’s Chief of Staff

and National Security Advisor.

           b. The Government’s Proof

       The government will present the testimony of FBI Forensic Accountant Eric Van Dorn,

who, relying on extensive financial records, will trace the monies from foreign accounts controlled

by Low to domestic accounts controlled by Michel, Broidy, and Lum Davis. Many of the relevant

financial transactions passed through a bank account associated with Colfax Law Office, which

the evidence will show served as a means to obfuscate the true source and purpose of the funds—

that is, to facilitate the undisclosed foreign lobbying scheme. An FBI case agent will introduce

communications between co-conspirators, including Michel, and toll record analysis for calls

between the co-conspirators. In addition, the government plans to present several former

government officials, including the former National Security Advisor and his colleagues, who will

testify about their knowledge concerning efforts urging the extradition of the PRC dissident,

among other things.

       In October 2020, Broidy pleaded guilty to one count of conspiracy to serve as an

unregistered foreign agent, in violation of 18 U.S.C. § 371, for his role in this undisclosed foreign

lobbying scheme. See United States v. Elliott Broidy, Case No. 1:20-cr-210-CKK (D.D.C.). In



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January 2021, he received a full presidential pardon for his offense. At trial, the government

anticipates Broidy testifying about the origins of this scheme in early 2017, including his initial,

in-person meeting with Michel and Lum Davis in Los Angeles, and their meeting in Bangkok,

Thailand with Low where the parties agreed on the lobbying campaign and Low’s financial

compensation to the co-conspirators. Broidy will describe generally the financial transactions

surrounding Low’s payments including transfers to Michel’s entities, and the efforts to conceal

Low as a client. Broidy also will recall the meeting that he, Michel, Lum Davis, and Low had with

a PRC government official in Shenzhen, China, at which the PRC official sought help in

facilitating the extradition of a PRC dissident from the United States back to PRC. Broidy will

testify about the efforts he undertook, and represented to others that he undertook, to (1) arrange a

golf outing/meeting between the President and the Malaysian Prime Minister, (2) arrange meetings

for the PRC government official to meet with high-ranking U.S. government officials during a trip

to Washington, D.C., and (3) persuade high-ranking U.S. government officials to extradite the

PRC dissident. The government expects Broidy to detail his frequent communications with Lum

Davis regarding the status and progress of his influence efforts and his understanding that Lum

Davis was reporting those updates to Michel, who in turn was updating Low. The government

will introduce electronic communications between Broidy, Lum Davis, and others to contextualize

and corroborate Broidy’s testimony about the undisclosed lobbying campaign. To the extent these

communications are hearsay, most will be admissible at trial pursuant to the co-conspirators

hearsay exception, among other possible exceptions.

       In November 2018, Higginbotham pleaded guilty to conspiracy to make false statements

to a bank, in violation of 18 U.S.C. § 371. See United States v. George Higginbotham, Case No.

1:18-cr-343-CKK (D.D.C.). At trial, Higginbotham will testify about his relationship with Michel,



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Michel’s and his own involvement in the undisclosed lobbying campaign, the receipt and transfer

of Low’s monies, and the aim to conceal Low’s identity, especially from banks. Higginbotham

also will specifically recount (1) his meeting at the Chinese Embassy in Washington, D.C., at

Michel’s direction, to provide an update on efforts to extradite the PRC dissident, and (2) the trip

he and Michel took to Macau, China to meet with Low to obtain more money in furtherance of the

scheme. Lastly, Higginbotham will testify about his and Michel’s conspiracy to make false

statements to banks in furtherance of the undisclosed lobbying scheme, as detailed below.

Higginbotham will introduce relevant communications between himself, Michel, and the banks

that they used to receive and manage Low’s payments.

           c. Michel’s False Statements to Banks

       During the same period of their undisclosed foreign lobbying scheme, between

approximately March 2017 and approximately January 2018, Michel and Higginbotham conspired

to make false statements to banks to facilitate the transfer and receipt of Low’s millions of

dollars—the money intended to fund the undisclosed lobbying campaign—from foreign accounts

associated with Low to domestic accounts controlled by Michel. Michel and Higginbotham took

substantial steps to conceal the source and purpose of the wire transfers, including by drafting

various false written agreements and contracts to disguise the transfers as legitimate business

transactions. In September 2017, Michel, through Higginbotham, misrepresented to City National

Bank the source and purpose of the funds. In November 2017, Michel, personally and through

Higginbotham, made similar misrepresentations to Morgan Stanley. And in December 2017,

Higginbotham and Michel misrepresented to Citibank, in response to the bank’s inquiry about $41

million of Low’s money deposited into Higginbotham’s account, that the money was an

investment in one of his client’s music and entertainment projects, concealing the fact that the



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money came from Low and was actually intended for the undisclosed political lobbying campaign.

         In addition to Higginbotham, Marc Moscowitz, Michel’s money manager during this

relevant period, will testify about his knowledge and understanding of the events and

circumstances surrounding these transactions and Michel’s correspondence with the banks. And

the government expects to present several witnesses from the relevant financial institutions who

will attest to their banks’ respective inquiries and the significance and materiality of the

representations made to their institutions by Michel and Higginbotham.

   IV.      LEGAL ISSUES & MOTIONS IN LIMINE

            a. Michel Should Not be Permitted to Make Impermissible Arguments to the
               Jury

         The government respectfully requests that the Court preclude Michel from making any

impermissible statements or arguments before the jury. As in any criminal case, the jury’s verdict

should be based solely on an application of the law to admissible evidence and nothing else.

Nevertheless, Michel has made pretrial arguments suggesting an intent to contest the charges

against him with irrelevant and improper references to selective prosecution, outrageous

government misconduct, his prior good acts, inequitable application of the Foreign Agents

Registration Act (FARA), 22 U.S.C. § 611, et seq., and other general arguments seeking jury

nullification. The government seeks a pretrial order to preclude argument and evidence based on

the above and any other irrelevant and prejudicial topics at trial. See Sparf v. United States, 156

U.S. 51, 72 (1895) (noting that when a jury disregards a court’s instructions, “there may be no

remedy”); United States v. Gorham, 523 F.2d 1088, 1097-98 (D.C. Cir. 1975) (affirming a trial

court order precluding defense evidence that might encourage a “conscience verdict” of acquittal);

United States v. Sepulveda, 15 F.3d 1161, 1190 (1st Cir. 1993) (“A trial judge, therefore, may

block defense attorneys’ attempts to serenade a jury with the siren song of nullification.”).


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                    i. Claims of Outrageous Government Conduct and Selective or
                       Vindictive Prosecution are for the Court, not the Jury, to Decide

        Michel filed multiple Motions to Dismiss the Superseding Indictment attacking the

investigation and prosecution. See Mot. to Dismiss Sel. Pros., ECF No. 131; Mot. to Dismiss Out.

Conduct, ECF No. 133. The Court has addressed Michel’s selective prosecution motion and

rejected his arguments, and holds in abeyance decision on Michel’s arguments regarding vindictive

prosecution. See Omnibus Mem. Op. and Order, ECF No. 154 at 12-18. These arguments are

legal arguments that are improper for a jury’s consideration.

        Strewn throughout Michel’s filings are the incorrect assertions that Michel was improperly

targeted because of either his race or his decision not to plead guilty. See Mot. To Dismiss Sel.

Pros., ECF No. 131, at 3-4; Mot. to Dismiss Out. Conduct, ECF No. 133 at 3-12. But these

arguments are issues of law to be decided by the Court and ultimately irrelevant to the charges

Michel faces. See ECF No. 154 at 12-18; United States v. Washington, 705 F.2d 489, 495 (D.C.

Cir. 1983) (“The issue of selective prosecution is one to be determined by the court, as it relates to

an issue of law entirely independent of the ultimate issue of whether the defendant actually

committed the crimes for which she was charged.” (citations omitted)); Fed. R. Crim. P.

12(b)(3)(A)(iv) (“The following defenses, objections, and requests must be raised by pretrial

motion if the basis for the motion is then reasonably available and the motion can be determined

without a trial on the merits: . . . selective or vindictive prosecution[.]”); United States v. Dufresne,

58 F. App’x 890, 895 (3d Cir. 2003) (“[A] claim of vindictive prosecution is not permissible

argument to a jury.”). The defendant should not be permitted to make improper arguments of

selective or vindictive prosecution to the jury.

        So too should Michel’s outrageous government conduct claims be excluded from being

presented to the jury. ECF No. 133. It is well established that claims of outrageous government


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conduct are issues of law to be decided by the court, and this Court has already denied his claims.

See ECF No. 154 at 16-18; United States v. Brock, No. CR 21-140 (JDB), 2022 WL 3910549, at

*9 (D.D.C. Aug. 31, 2022) (“‘Whether particular government conduct was sufficiently outrageous

to meet this standard is a question of law,’ and if the standard were met, the proper remedy would

be dismissal of the indictment[.]” (quoting United States v. Boone, 437 F.3d 829, 841 (8th Cir.

2006))); United States v. Mosley, 965 F.2d 906, 909 n.3 (10th Cir. 1992) (claim of outrageous

government conduct, which focuses on government’s behavior rather than that of the defendant,

may be presented to the court as a motion to dismiss, but it is not an affirmative defense to be

presented to the jury). Any attempt, by argument or the introduction of evidence, to further an

outrageous government conduct claim is a veiled attempt to seek jury nullification. Courts have

made clear that jury nullification is improper—“Such verdicts are lawless, a denial of due process

and constitute an exercise of erroneously seized power.” Washington, 705 F.2d at 495.

                  ii. Mention of Other Civil or Criminal FARA Enforcement Actions are
                      Irrelevant and Inadmissible

       Michel has repeatedly attacked FARA’s statutory scheme and what he perceives as

inequitable application of FARA’s criminal provisions. Mots. to Dismiss FARA Counts, ECF

Nos. 116, 117, 130. The Court has denied Michel’s arguments regarding FARA’s constitutionality

wholesale. See Omnibus Mem. Op. and Order, ECF No. 154 at 8-12. Michel’s legal arguments

regarding FARA’s constitutionality should be reserved to pretrial motions, and he should not be

permitted to raise these arguments to the jury. The introduction of such evidence could be

considered impermissible solicitation of jury nullification. See United States v. Walsh, 654 F.

App’x 689, 697 (6th Cir. 2016) (affirming trial court’s refusal to allow the defense to argue the

legitimacy of federal marijuana laws).

       Michel points to Stephen Wynn as an example of how Michel has been singled out for


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criminal prosecution while others have faced lesser consequences under FARA’s statutory scheme.

As discussed above, this selective prosecution argument is reserved for the Court and should not

be presented to the jury. Washington, 705 F.2d at 495. And the Court noted that Michel failed to

make out a selective prosecution claim with respect to Wynn because “the Government may have

been concerned that it could not show that Wynn ‘willfully’ violated FARA.” ECF No. 154 at 14

(citing United States v. Navarro, Crim A. No. 22-200 (APM) (Sept. 12, 2022) (slip op.), at 5

(delineating circumstances defeating “similarly situated” inference)).

       Michel’s arguments and presentation of evidence at trial should be limited only to that

relevant to the crime charged or to an affirmative defense, and he should not be permitted to make

impermissible sideshows of irrelevant evidence. Under the Federal Rules of Evidence, evidence

“is relevant if: (a) it has any tendency to make a fact more or less probable than it would be without

the evidence; and (b) the fact is of consequence in determining the action.” Fed. R. Evid. 401; see

Fed. R. Evid. 402 (“Relevant evidence is admissible,” while “[i]rrelevant evidence is not

admissible”). 3 Trial courts have broad discretion to determine the relevance and admissibility of

any given piece of evidence. See United States v. Carter, 522 F.2d 666, 685 (D.C. Cir. 1975);

United States v. Catalano, 491 F.2d 268, 273 (2d Cir. 1974); United States v. Linetsky, 533 F.2d

192, 204 (5th Cir. 1976). Michel argued in his Motions to Dismiss that he lacked willfulness—an

element of the FARA offense he faces. Michel is free to present evidence and argue to the jury

that this element has not been met. He is not, however, permitted to argue the legitimacy of the

FARA scheme or its constitutionality. That argument has been presented and rejected by the Court

as a matter of law.




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  To the same extent, cumulative evidence regarding Michel’s profession as an entertainer should
be excluded unless relevant to the offenses charged.
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                  iii. Prior Good Acts of Defendant Should be Limited

       In an effort to distract the jury from the charges for which Michel is standing trial, Michel

may seek to elicit testimony regarding his “charitable, political and humanitarian activity” or other

“good acts” evidence wholly unrelated to the charges at hand that is previewed throughout many

of his filings. See, e.g., ECF No. 130 at 3; ECF No. 117 at 3-4. The government moves to exclude

all evidence of Michel’s general good character and evidence of specific instances of good

conduct.

       As a general matter, “good acts” evidence is irrelevant and therefore inadmissible. Fed. R.

Evid. 404(a) (“Evidence of a person’s character or a trait of character is not admissible for the

purpose of proving action in conformity therewith on a particular occasion.”). Rule 405(a) permits

“testimony about [a] person’s reputation or . . . testimony in the form of an opinion” where

“evidence of a person’s character or character trait is admissible.” Such testimony is limited to a

description of the subject’s reputation or to a brief statement of opinion, without support from

specific instances of conduct. See Advisory Committee Notes to Rule 405 (“[The rule]

contemplates that testimony of specific instances is not generally permissible on direct

examination of an ordinary opinion witness to character . . . . [O]pinion testimony on direct in

these situations ought in general to correspond to reputation testimony as now given i.e. be

confined to the nature and extent of observation and acquaintance upon which the opinion is

based.”). Michel should be prevented from eliciting testimony regarding his other specific good

acts in violation of Federal Rules of Evidence 404(a) and 405(a).

                  iv. Improper Reference to the Consequences of Conviction Should be
                      Excluded

       Michel should be precluded from introducing evidence or argument about the potential


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penalties or collateral consequences associated with a conviction for the charged offenses. It is

well-settled law that arguments or evidence regarding punishment are improper because the

potential penalties faced by a defendant are irrelevant to the jury’s determination of guilt or

innocence. See Shannon v. United States, 512 U.S. 573, 579 (1994) (“[A] jury has no sentencing

function, it should be admonished to ‘reach its verdict without regard to what sentence might be

imposed.’” (quoting United States v. Rogers, 422 U.S. 35, 40 (1975))); 1 Criminal Jury Instructions

for DC Instruction 2.505 (2021) (“The question of possible punishment of the defendant in the

event a conviction is not a concern of yours and should not enter into or influence your

deliberations in any way. The duty of imposing sentence in the event of a conviction rests

exclusively with me. Your verdict should be based solely on the evidence in this case, and you

should not consider the matter of punishment at all.”).

       This analysis applies equally to the collateral penalties associated with a felony

conviction—such as being prohibited from certain types of employment, losing the rights to

possess firearms and vote, and any family or business-related hardships caused by a federal

conviction. See, e.g., United States v. Patrick, 494 F.2d 1150, 1153-55 (D.C. Cir. 1974) (reversible

error for court to inform jury that it could recommend psychiatric treatment along with a verdict

of second degree murder); United States v. Del Rosario, No. 12-CR-81, 2012 WL 2354245, at *1

(S.D.N.Y. June 14, 2012) (excluding evidence related to immigration consequences); United States

v. Johnson, No. 08-CR-466, 2011 WL 809194, at *4 (N.D. Ill. Mar. 2, 2011) (precluding argument

or evidence about the “hardship” defendants’ families would face if the defendants were

convicted).

       Evidence relating to the punishment and the collateral consequences of a conviction serve

only to compromise the verdict, confuse the jury, or invoke sympathy for the defendant and serve



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to compromise the verdict, and therefore should be excluded from trial.

            b. Michel’s Proposed Expert Testimony Comments on Facts Not in Issue,
               Provides No Technical Analysis, Strays Beyond the Proffered Area of
               Expertise, and Includes Inadmissible Legal Conclusions; the Testimony
               Should be Excluded

         The proffered testimony of Michel’s proposed accounting and financial investigations

expert consists of irrelevant commentary on immaterial facts; defense-oriented characterizations

of financial transactions unsupported by any methodology or principles of accountancy; and

inadmissible legal opinions. The testimony should largely be excluded as unreliable and irrelevant.

To the extent that Michel offers witness testimony summarizing bank documents to present certain

categories of relevant financial transactions in summary fashion or to highlight certain transactions

without improper additional characterizations, the testimony may be admissible subject to

relevance and foundational objections, but not in the form of expert testimony. 4

         “[D]istrict courts have broad discretion in determining whether to admit or exclude expert

testimony.” United States ex. rel. Miller v. Bill Harbert Inter. Cont., Inc., 608 F.3d 871, 895 (D.C.

Cir. 2010) (internal quotation marks and citation omitted). Federal Rule of Evidence 702 provides

the framework for the Court’s determination and provides that expert testimony is only admissible

where:

         (a) the expert’s scientific, technical, or other specialized knowledge will help the
         trier of fact to understand the evidence or to determine a fact in issue; (b) the
         testimony is based on sufficient facts or data; (c) the testimony is the product of


4 Out of an abundance of caution, the government previously provided notice for its own financial
expert, FBI Forensic Accountant Eric Van Dorn. See Gov. Expert Notice, ECF Nos. 122 & 123.
The government does not presently anticipate offering Van Dorn’s testimony as expert testimony
given that the testimony will consist largely of outlining various relevant financial transactions
reflected in bank records, summarizing the records in summary exhibits and/or demonstratives,
and potentially providing some limited lay opinion testimony based on Van Dorn’s personal
involvement in this investigation and related matters. Should defense argument or cross-
examination of government witnesses put facts in issue for which expert testimony would be
required, the government reserves the right to qualify Van Dorn as an expert.
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       reliable principles and methods; and (d) the expert has reliably applied the
       principles and methods to the facts of the case.

Fed. R. Evid. 702. “[U]nder the Rules, the trial judge must ensure that any and all scientific

testimony is not only relevant but reliable.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579,

589 (1993). “[C]ourts are obligated to ‘determine whether [expert] testimony has a reliable basis

in the knowledge and experience of [the relevant] discipline.’” Heller v. District of Columbia, 801

F.3d 264, 271 (D.C. Cir. 2015) (alteration in original) (quoting Kumho Tire Co. v. Carmichael,

526 U.S. 137, 149 (1999)).

       The proffered testimony of Michel’s expert is irrelevant in some instances and beyond his

expertise and lacking any discernible methodology in others. The defendant’s expert notice

focuses primarily on the money laundering objects of the conspiracy charged in Count 7 and

provides that the expert will opine that the funds transferred to Michel’s companies were not

“sourced from 1MDB.” Def. Notice of Expert Report, ECF No. 125 at 2-3. The government has

not charged Michel with laundering proceeds from Low’s 1MDB embezzlement scheme. Rather,

Michel is charged with conspiring to (1) commit international promotional money laundering by

causing the transfer of funds from foreign accounts to U.S. accounts to promote the specified

unlawful activity that constitutes the charged FARA scheme; and (2) to commit concealment

money laundering by routing the proceeds of the FARA scheme through shell accounts to conceal

the true control, source, and purpose of the funds. Superseding Indictment, ECF No. 84 at 26.

Because the government did not charge Michel with laundering proceeds of the 1MDB

embezzlement scheme and because the government does not intend to present evidence or

argument that the funds used in furtherance of the charged FARA scheme were 1MDB proceeds,

Michel’s expert’s opinion that the bank records do not prove that the funds were 1MDB proceeds

does not “help the trier of fact . . . determine a fact in issue.” Fed. R. Evid. 702.


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       Michel’s expert notice also provides that the expert will testify that no “documents or

records . . . conclusively tie Mr. Low to the funds transferred from Lucky Mark and Red Rock IX.”

ECF No. 125 at 4. Witness testimony and circumstantial evidence will establish that Low directed

the relevant wire transfers to Michel and Higginbotham and that Low’s associates were listed on

some of the involved accounts. The bank documents themselves will be introduced into evidence.

No specialized knowledge is necessary to explain that Low’s name does not appear on the

documents—that fact can be clearly established through cross-examination of the government

witness who will introduce the exhibits or by reference to the exhibits themselves. Such basic

factual assertions do not require expert testimony. See Sec. & Exch. Comm’n v. Lipson, 46 F.

Supp. 2d 758, 764 (N.D. Ill. 1998) (“Defendant has not established that the financial evidence he

will testify about is so complicated that the jury will be unable to understand it without repetition

by [Expert].”).

       Michel’s expert report also includes opinions that Michel’s transactions are consistent with

his defense that the funds were all related to entertainment ventures rather than the FARA scheme:

“a sizeable portion of the funds wired into Anicorn’s accounts were further transferred to a law

firm;” “[a]fter performing web-searches, the principal of the firm lists on her LinkedIn page that

she is, among other things, an entertainment lawyer with experience in developing entertainment

projects;” “Michel had projects that were of an entertainment nature;” “Mr. Michel has been in the

entertainment business since the 1990’s and has projects in development;” “[t]he disbursements

here certainly would be consistent with the development of entertainment projects;” and “Michel

. . . . has significant funds . . . tied up in project development.” ECF No. 125 at 5, 9, 11. The bank

records themselves identify the recipients of Michel’s transfers. No expert testimony is necessary

to explain the identity of the recipients or the nature of the goods or services that they purportedly



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provided. No methodology is offered to support the proffered characterizations of certain

transactions as “consistent with the development of entertainment projects.” And this witness has

no proffered personal knowledge of Colfax Law Office or Michel’s expenditures or entertainment

ventures that would provide sufficient foundation to allow him to testify beyond the information

on the face of the records as to the nature of the relevant transactions. The opinions are defense-

oriented lay characterizations from a witness without any personal knowledge, disguised as expert

opinion and devoid of any analysis. See Minasian v. Standard Chartered Bank, PLC, 109 F.3d

1212, 1216 (7th Cir. 1997) (“[Expert]’s affidavit exemplifies everything that is bad about expert

witnesses in litigation. It is full of vigorous assertion (much of it legal analysis in the guise of

banking expertise), carefully tailored to support plaintiffs’ position but devoid of analysis.”).

       Finally, Michel’s expert notice provides irrelevant factual observations coupled with

impermissible legal conclusions, including: “I witnessed extensive lobbying by defense attorneys

of DOJ to get the department to either close an ongoing investigation or to refuse to indict the

subject of an investigation;” “the government, in the Indictment, alleges that the FARA violation

in essence ‘back taints’ the funds transferred from Lucky Mark and Red Rock IX. . . . [t]his is a

novel theory of the definition of ‘proceeds’ and a matter for counsel, but I can say that, both as a

special agent and as a supervisor reviewing the cases of a group of 10-15 special agents solely

involved in the investigations of financial crimes in the Central District in California, I never recall

seeing this theory used in a prosecution;” “[i]n the Indictment it is the alleged FARA violation that

makes the transferred funds ‘proceeds’ but in the Forfeiture Complaint those same funds are not

alleged to be proceeds of a FARA violation but instead are alleged to be proceeds from a bank

fraud.” ECF No. 125 at 6-8. The witness’s personal observations in investigations unrelated to

this case are not relevant or the proper subject of expert testimony; references to alternative legal



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theories cited in a separate civil forfeiture complaint filed by a distinct team of prosecutors in a

related civil proceeding are similarly irrelevant and are likely to confuse the jury as to the issues

properly before it; and the expert’s opinions about what constitutes proceeds or bank fraud (which

is not charged in this case) are inadmissible encroachments on the Court’s authority on the law.

See, e.g., Weston v. Wash. Metro. Area Transit Auth., 78 F.3d 682, 684 n.4 (D.C. Cir. 1996) (“An

expert witness may not deliver legal conclusions on domestic law, for legal principles are outside

the witness’ area of expertise under Federal Rule of Evidence 702.”); In re Initial Pub. Offering

Sec. Litig., 174 F. Supp. 2d 61, 64 (S.D.N.Y. 2001) (same) (collecting cases).

       The defendant’s proposed expert testimony is inadmissible. The various assertions in the

proffered testimony either fail to address a fact in issue, do not rely on any methodology, data, or

testing, are inadmissible lay opinions lacking foundation, or constitute impermissible legal

conclusions. The defense-tailored opinions and conclusions in Michel’s expert report do not

satisfy Federal Rule of Evidence 702 or Daubert and should be excluded.

           c. Michel Should Not be Permitted to Introduce Extrinsic Evidence of Witnesses’
              Prior Acts

       The government intends to call several witnesses at trial who have pleaded guilty to federal

criminal offenses (e.g., Bekkedam, Broidy, Higginbotham) and/or who have been subjects of or

otherwise implicated in other federal investigations. 5 Under certain circumstances, a trial

witness’s criminal conviction may be used to impeach the witness. See Fed. R. Crim. P. 609. And

a witness at trial may be cross-examined, subject to certain limitations and restrictions, regarding

issues or matters bearing on the witness’s credibility and character for truthfulness. See, e.g., Fed.




5
 The government, as part of its discovery, has disclosed to Michel its knowledge of existing or
previous investigations concerning its potential trial witnesses.


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R. Crim. P. 608(b).        However, notwithstanding those potentially proper areas of cross-

examination, defense counsel should be barred from presenting at trial any extrinsic evidence to

prove specific instances of a witness’s prior acts unrelated to this case.

          The Federal Rules of Evidence limit and preclude certain areas and types of evidence at

trial. For example, evidence must be relevant to be admissible. Fed. R. Evid. 402 (“Irrelevant

evidence is not admissible.”). Even relevant evidence is subject to the balancing test of Rule 403,

which “exclude[s] relevant evidence if its probative value is substantially outweighed by . . . unfair

prejudice,” confusion, waste of time, or other reasons. Fed. R. Evid. 403. Rule 404(b) provides

that “[e]vidence of any other crime, wrong, or act is not admissible to prove a person’s character

in order to show that on a particular occasion the person acted in accordance with the character.”

Fed. R. Evid. 404(b)(1). 6 And Rule 608(b) provides that “extrinsic evidence is not admissible to

prove specific instances of a witness’s conduct in order to attack or support the witness’s character

for truthfulness.” Fed. R. Evid. 608(b).

          Based on these principles, the government seeks a pretrial order limiting Michel from

introducing extrinsic evidence at trial pertaining to the underlying facts of trial witnesses’ unrelated

criminal convictions,7 and to the prior acts or allegations underlying any federal investigations of



6
 Pursuant to Rule 404(b)(2), evidence of other crimes, wrongs, or acts may be admissible at trial
for other, non-propensity purposes. While Rule 404(b) is typically used by prosecutors to
introduce evidence of a defendant’s uncharged conduct, defendants also may rely on the rule, under
appropriate circumstances, to support their defense. United States v. Edwards, 901 F. Supp. 2d
12, 16 (D.D.C. 2012) (quoting United States v. Alayeto, 628 F.3d 917, 921 (7th Cir. 2010))
(brackets omitted). However, “reverse 404(b)” evidence, as it is sometimes known, is only
admissible “‘if it tends, along or with other evidence, to negate the defendant’s guilt of the crime
charged against the defendant.’” Id. (quoting Alayeto, 628 F.3d at 921). Here, the prior acts of
and investigations involving potential trial witnesses are unrelated to the present case and do not
have any bearing on Michel’s guilt of the crimes charged in this case, let alone any exculpatory
effect.

7
    Michel, of course, would not be prohibited from cross-examining Broidy or Higginbotham about
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those witnesses. A district court “has considerable discretion to place reasonable limits on a

criminal defendant’s presentation of evidence and cross-examination of government witnesses.”

United States v. Watson, 409 F.3d 458, 462-63 (D.C. Cir. 2005) (citation and internal quotation

marks omitted). Specifically with respect to cross-examination, “trial judges retain wide latitude

insofar as the Confrontation Clause is concerned to impose reasonable limits on . . . cross-

examination based on concerns about, among other things, harassment, prejudice, confusion of the

issues, the witness’ safety, or interrogation that is repetitive or only marginally relevant.”

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986). Rule 608(b) generally prohibits the use of

extrinsic evidence to prove specific instances of conduct associated with a witness. Moreover, to

permit Michel to present extrinsic evidence related to any of those prior acts or allegations invites

a mini-trial within the trial, the probative value of which is substantially outweighed by the

likelihood of unfair prejudice, confusion of the jury, and the wasting of time and resources. See

Fed. R. Evid. 403. And for federal investigations of witnesses that were unknown to the witnesses

themselves, Michel has no basis to question the witnesses about possible bias or motive to curry

favor on those grounds. See United States v. Landes, 704 F.2d 152 (5th Cir. 1983) (affirming

district court decision to restrict defendant’s attempt to impeach a prosecution witness for proof of

bias when the proffered evidence did not lend logical support for the point defendant wished to

make).

            d. Admissions of Business Records Without a Custodian

         In proving Michel’s wide-reaching foreign influence and conduit contribution schemes, the

government intends to introduce business records from multiple entities, including, but not limited




the facts underlying their criminal convictions related to this case. Indeed, the government expects
to elicit testimony about those facts during the direct examinations of those witnesses.
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to, banks, phone service providers, and airlines. These records are accompanied by a certification

satisfying the requirements of Federal Rule of Evidence 803(6) (business records exception to the

rule against hearsay). Although the government may introduce testimony from some of the related

custodians, for many of the records, testimony from a custodian is unnecessary as the certifications

establish that the records comply with Federal Rules of Evidence 803(6) and 902(11).8

       The government seeks to introduce records with such a certification without a custodian at

trial. Each of these sets of records is accompanied by a certification establishing that the related

records are authentic duplicates of the originals, and that the records (1) “[were] made at or near

the time by—or from information transmitted by—someone with knowledge;” (2) “[were] kept in

the course of a regularly conducted activity of a business, organization, occupation, or calling;”

and (3) were made “as a regular practice of that activity.” Fed. R. Evid. 803(6)(A)-(C).

       Federal Rule of Evidence 902(11) provides that “[t]he original or copy of a domestic record

that meets the requirements of Rule 803(6)(A)-(C), as shown by a certification of the custodian”

is self-authenticating and “require[s] no extrinsic evidence of authenticity in order to be admitted.”

Fed. R. Evid. 902(11). Pursuant to Rule 902, a records custodian or other qualified person from

the business or organization may provide a certification attesting to the record’s compliance with

Rule 803(6) in lieu of appearing at trial.

       To avoid wasting the jury and this Court’s time, as well as to avoid the cost of travel and




8  Where applicable, certain materials also contain certifications under Federal Rule of Evidence
902(13) showing that the records were generated by “an electronic process or system that produces
an accurate result, as shown by a certification of a qualified person that complies with the
certification requirements of Rule 902(11),” and Federal Rule of Evidence 902(14) showing that
the “data [was] copied from an electronic device, storage medium, or file, if authenticated by a
process of digital identification, as shown by a certification of a qualified person that complies
with the certification requirements of Rule 902(11) or (12).”


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lodging for custodians, the government respectfully requests the Court rule pretrial that records

accompanied by such a certification are admissible without testimony from a custodian.

Accordingly, the government requests that this Court rule that documents accompanied by the

appropriate certification be admissible under Rules 803(6) and 902(11). The government

recognizes that the defendant has a right to object on other grounds when these documents are

offered at trial.

        The government will seek to admit records from the following custodians:9

        1. Verizon Wireless

        2. City National Bank

        3. Citibank

        4. Morgan Stanley

        5. Wells Fargo

        6. HSBC

        7. AT&T

        8. Metro PCS T-Mobile

        9. Bank of America

        10. American Airlines




9   Because the Exhibit List will not be finalized until its filing on September 30, the government
has provided the Court with the custodians of records that it will seek to admit using a certification.
If the Court wishes, the government can supplement this filing after the Exhibit List is filed on
September 30 to identify all of the exhibits it seeks to admit using certifications.

The government expects to receive outstanding custodian declarations in the next few weeks, at
which time these will be made available to the defense. The government reserves the right to
amend this list. This list represents records the government might use at trial, but the listing here
does not mean that the government will introduce all of these records.


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       11. Bank of Hawaii

       12. Industrial Bank

       13. Standard Chartered Bank

       The Confrontation Clause does not bar the use of these certifications. Courts have

consistently held that a business records certification is nontestimonial and that admitting business

records on the basis of a certification without testimony is entirely proper under the Confrontation

Clause. See, e.g., United States v. Edwards, No. Crim. 11-129-1 CKK, 2012 WL 5522157, at *1

(D.D.C. Nov. 15, 2012); United States v. Johnson, 688 F.3d 494, 504-05 (8th Cir. 2012); United

States v. Yeley-Davis, 632 F.3d 673, 680 (10th Cir. 2011); United States v. Schwartz, 315 F. App’x

412, 417 (3d Cir. 2009); United States v. Ellis, 460 F.3d 920, 927 (7th Cir. 2006); United States v.

Weiland, 420 F.3d 1062, 1077 (9th Cir. 2005). As this Court explained in Edwards, “[t]he business

records—not the certifications—are used to establish facts against the defendant at trial,” and “the

Supreme Court has specifically distinguished affidavits or certificates authenticating records from

other types of affidavits.” 2012 WL 5522157 at *2 (citing Melendez-Diaz v. Massachusetts, 557

U.S. 305, 322-23 (2009)).

       The government has attempted on two occasions to obtain stipulations from defense

counsel as to the admissibility of these records but has not yet received an answer. Michel has not

yet raised any objection to the government introducing the noticed records without the testimony

of a custodian but has also not indicated whether he plans to object in the future. Having

established the requirements of Rule 806(3) or another hearsay exception and the authentication

requirements of Rule 902(11), (13), or (14) by certification, documents accompanied by such

certifications are properly admissible at trial, and the government moves this Court to allow their

admission without further foundation when the government sufficiently demonstrates their



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relevance.


                                    Respectfully submitted,

                                        COREY R. AMUNDSON
                                        Chief, Public Integrity Section
                                        Criminal Division
                                        U.S. Department of Justice



                                        By: /s/ Sean F. Mulryne
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will serve counsel for the Defendant via

electronic notification.



Dated: September 16, 2022                                /s/ Sean F. Mulryne
                                                         Sean F. Mulryne




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